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7
8
                               UNITED STATES DISTRICT COURT
9
                               EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,)           CASE NO. 1: 05 CR 00161 OWW
                              )
13                            )
                Plaintiff,    )           STIPULATION AND ORDER
14                            )           TO CONTINUE STATUS HEARING
            vs.               )
15                            )
     GILDA ROSALES,           )
16                            )
                              )
17              Defendant.    )
                              )
18
19          THE PARTIES HEREBY STIPULATE AND AGREE that the status hearing
20   presently set for Monday, June 18, 2007, at 9:00 a.m., be continued
21   to Monday, August 27, 2007, at 9:00 a.m.
22          In this matter, co-defendant Oscar Rosales, husband of Gilda
23   Rosales, has plead guilty and is pending sentencing. After
24   defendant Oscar Rosales is sentenced, the matter of Gilda Rosales
25   will be dismissed. Sentencing for Oscar Rosales has been continued
26   to August 22, 2007.
27   //
28   //
       Case 1:05-cr-00161-LJO Document 561 Filed 06/14/07 Page 2 of 2


1         Pursuant to Federal Rules of Criminal Procedure section 18
2    U.S.C. 3161, the parties agree that any delay resulting from this
3    continuance shall be excluded in the interest of justice.
4    Dated: June 13, 2007.                     /s/ DAVID BALAKIAN
                                               David Balakian,
5                                              Attorney for Defendant,
                                               GILDA ROSALES
6
7    Dated: June 13, 2007.                     /s/ KAREN ESCOBAR
                                               Karen Escobar,
8                                              Assistant U.S. Attorney.
9                                              Stipulation has been agreed to
                                               by Ms. Escobar.
10
11
                                        ORDER
12
          Good cause having been shown, the status hearing presently set
13
     for Monday, June 18, 2007, at 9:00 a.m., be continued to Monday,
14
     August 27, 2007, at 9:00 a.m.
15
          Time is excluded through August 27, 2007, to enable terms of
16
     the parties' agreement for dismissal of the case to be performed.
17
18   IT IS SO ORDERED.
19   Dated: June 13, 2007                  /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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